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Case 3:17-cv-00243-X-BT Document 719 Filed 09/30/22 Page1of3 PagelD 18366

 

 

UNITED STATES DISTRICT COURT [| [,i-CEIVEW |
NORTHERN DISTRICT OF TEXAS —— ]
UNITED HEALTHCARE SERVICES, SEP 39 2022 |
INC., UNITEDHEALTHCARE ___ Ww
INSURANCE COMPANY, GLESCU © SIRTRICT COURT
NORTH scr or
Plaintiffs, Case No. 3:17-cv-00243-X-BT
Vv.

NEXT HEALTH, LLC, et al.,

Defendants.

 

 

NOTICE OF MANUAL FILING
Please take notice that Plaintiffs, (collectively, “UHC”) have manually filed a
USB flash drive with materials supporting their motion for partial summary
judgment. The documents on the USB flash drive have not been filed electronically
because they are not of the appropriate format for CM/ECF and they contain PHI

(“protected health information”). UHC is not permitted to file PHI publicly on record.

 

NOTICE OF MANUAL FILING PAGE 1
Case 3:17-cv-00243-X-BT Document 724 Filed 09/30/22 Page 2of5 PagelD 18785
Case 3:17-cv-00243-X-BT Document 719 Filed 09/30/22 Page 2of3 PagelD 18367

Dated: September 30, 2022

Respectfully submitted,

By: _/s/Scott P. Kerew
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NOTICE OF MANUAL FILING

PAGE 2

 
Case 3:17-cv-00243-X-BT Document 724 Filed 09/30/22 Page3o0f5 PagelD 18786
Case 3:17-cv-00243-X-BT Document 719 Filed 09/30/22 Page 3of3 PagelD 18368

CERTIFICATE OF SERVICE
I hereby certify that on September 30, 2022, the foregoing was electronically
filed with the Clerk of Court using the CM/ECF system under Local Rule 5.1(d), which

will automatically send notification of such filing to all counsel of record.

/s/Scott P Kerew

 

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